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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                        Plaintiff,                                   4:12CR3056
       vs.
                                                         MEMORANDUM AND ORDER
KENNAN RASHON MALLORY
                        Defendant.

       Defense counsel has moved to withraw due to a conflict of interest. (Filing No. 30). The
above-named defendant is eligible for appointed counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED:

       (1)     Defense counsel's motion to appoint new counsel, (filing no. 30), is granted. The
clerk shall delete Jessica Milburn from any future ECF notifications herein.

       (2)     The clerk shall forward this memorandum and order to the Federal Public
Defender.

       (3)     The Federal Public Defender shall forthwith provide the court with a draft
appointment order (CJA Form 20) bearing the name and other identifying information of the
CJA Panel attorney identified in accordance with the Criminal Justice Act Plan for this district.

       (4)     The newly appointed counsel shall promptly file an entry of appearance on behalf
of the defendant.


       July 10, 2012.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
